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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA

   ASHLEY NICHOLE MAGALLAN,
   individually, and as surviving spouse and
   next friend of Jesus Magallan, Jr.,
   deceased,
                      Plaintiff,
   vs.                                              Case No. 16-CV-668-CVE-FHM
   ZURICH AMERICAN INSURANCE
   COMPANY,
                      Defendant.
   and
   ZURICH AMERICAN INSURANCE
   COMPANY,
                      Third-Party Plaintiff
   vs.
   Wyoming Casing Service, Inc
                      Third-Party Defendant

                                     OPINION AND ORDER

          Plaintiff’s Motion to Compel, [Dkt. 69], is before the court for decision. A response

   brief has been filed, [Dkt. 72], no reply brief was filed. The matter is ripe for decision.

                                              Background

          Plaintiff made a claim for payment of Uninsured/Underinsured Motorist coverage

   (UM/UIM) for a vehicular accident in which Jesus Magallan was killed. The vehicle in which

   Mr. Magallan was a passenger was owned by his employer, Wyoming Casing, Inc., and

   was driven by a co-worker. The vehicle was insured under Wyoming Casing’s policy of

   insurance with Defendant Zurich American Insurance Company (Zurich).                   Zurich
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   determined that the co-worker/driver of the Wyoming Casing vehicle was at fault in the

   accident and that UM/UIM coverage was not available to the survivor of Mr. Magallan.

          Plaintiff has sued Zurich alleging breach of contract, bad faith refusal to pay amounts

   owing under the policy, and seeks a declaratory judgment. In this motion Plaintiff seeks

   an order compelling Zurich to produce documents responsive to two requests for

   production of documents.

                                           Discussion

          Request for Production No. 7 seeks:

                 [E]ach claim/file involving Zurich’s handling of a “Uninsured
                 Motorist Coverage”/”Underinsured Motorist Coverage” claim in
                 the State of Oklahoma where (1) the claimant was [an]
                 employee (like Plaintiff Jesus Magallan) of the named insured;
                 and (2) it involved the same or similar insuring language as
                 insurance policy number BAP 0134582-00.

   [Dkt. 72, p. 3].   Zurich objects on the basis that the request is overly broad and

   burdensome. Zurich also asserts that the information is not relevant, nor proportional to

   the needs of the case. Contrary to the assertion contained in Plaintiff’s brief, in objecting

   Zurich provided sufficient explanation for the basis of its objections. In its response to the

   discovery request Zurich explained: the request for UM/UIM claims files was unlimited in

   time; the information would have no bearing on the claim which is the subject of the lawsuit;

   the manpower expense in locating responsive files, reviewing them for similarities to the

   instant case, and redacting the confidential/private information was not proportional to the

   needs of the case.

          Plaintiff’s brief states that the court has the obligation to interpret relevancy very

   broadly for discovery purposes. That statement is no longer valid in light of the 2015


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   amendment to Fed.R.Civ.P. 26 which refined the scope of discovery. Rule 26(b)(1) now

   instructs, in relevant part:

                   Parties may obtain discovery regarding any nonprivileged
                   matter that is relevant to any party’s claim or defense and
                   proportional to the needs of the case, considering the
                   importance of the issues at stake in the action, the amount in
                   controversy, the parties’ relative access to relevant information,
                   the parties’ resources, the importance of the discovery in
                   resolving the issues, and whether the burden or expense of the
                   proposed discovery outweighs its likely benefit.

          In the meet and confer process, in response to the request of Plaintiff’s counsel,

   Zurich identified 85 UM/UIM claims in Oklahoma from 2011 to 2015. Zurich continues to

   maintain that the information is not relevant to any matter at issue and that the effort to

   review and redact the files would be unduly burdensome given the issues in the case.

   Zurich suggests that if the court finds that the files are relevant, then producing a sampling

   of the files would be a reasonable approach to alleviate the burden. Zurich has not

   determined how many of the 85 files involve a situation similar to the present one where

   UM/UIM coverage was denied when an employee was injured in an employer-owned

   vehicle driven by a co-employee at fault for the accident and the policy contains the same

   or similar language as the instant policy. However, since the entire universe of possibly

   similar claims is 85, it does not appear that production of a sampling to alleviate the burden

   is necessary.

          Concerning relevancy, Plaintiff argues that Zurich’s handling of other similar claims

   will reveal Zurich’s routine practice and will be evidence of Zurich’s alleged reckless

   disregard of its duty to deal fairly and act in good faith toward its insured, and will be

   relevant to determining whether punitive damages are in order. For reasons similar to the


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   ones stated by the Court in Jones v. Farmers Ins. Co., Inc., 2012 WL 12863976 (W.D.

   Okla), the court finds that similar claims are arguably relevant to Plaintiff’s contract claim

   and the claim of bad faith in that they may show a pattern and practice. While Plaintiff

   defines similar claims as being all Oklahoma UM/UIM claims involving an

   employer/employee situation, the court defines similar claims much more narrowly. The

   court finds that similar claims are all Oklahoma UM/UIM claims from February 1, 20141 to

   the date of the denial of the instant claim where the injured party was a passenger in an

   employer-owned vehicle where a co-employee driver was at fault in the accident, and the

   policy language is the same or similar to the policy at issue in this case. Since the number

   of all Oklahoma UM/UIM claims from 2010 to 2015 is 85, identifying the number of claims

   similar to the instant case for 2014-2015 should not be so great a number as to be unduly

   burdensome.

          The court finds that personal and confidential information of third parties contained

   in the claim files is not relevant and therefore that information is properly redacted from the

   production. The motion to compel is GRANTED in part and DENIED in part, as to Request

   for Production No. 7, as specified herein.

          Request for Production No. 12 seeks:

                  [A]ll information related to coverage opinions involving
                  “Uninsured Motorist Coverage”/”Underinsured Motorist
                  Coverage” claims in the State of Oklahoma where (1) the
                  claimant was [an] employee (like Plaintiff Jesus Magallan) of
                  the named insured; and (2) it involved the same or similar
                  insuring language as policy number BAP 0134582-00.



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             February 1, 2014, is the effective date of 85A Okla. Stat. §43 which Zurich appears to claim
   provides a basis for denying the claim.

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   [Dkt. 72, p. 3]. Zurich objects to production on the basis that the request is overbroad in

   that it it is not limited to a reasonable period of time and because the coverage opinions are

   attorney-client communications and Zurich has taken no affirmative step to place the

   substance of their attorney’s advice at issue in this case, much less in relation to other

   claims.

          Plaintiff has submitted only general statements of law concerning attorney client

   privilege and has offered nothing to suggest that the privilege is inappropriately applied to

   coverage opinions or that the privilege has been waived. Further no rationale has been

   provided for requiring production of “all information related to coverage opinions.” The

   motion to compel is DENIED as to Request for Production No. 12.

                                         CONCLUSION

          Plaintiff’s Motion to Compel, [Dkt. 69], is GRANTED in part and DENIED in part, as

   specified herein.

          SO ORDERED this 18th day of August, 2017.




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